Case 1:19-cr-03725-JB Document 71 Filed 01/15/20 Page 1 of 1

Carolyn Wright

 

 

SAEED
From: - Castellano, Randy (USANM) <Randy.Castellano@usdoj.gov>
Sent: Monday, January 6, 2020 2:16 PM
Ta: Carolyn Wright
Cc: Armijo, Maria (USANM); nick@harrisonhartlaw.com: carter@harrisonhartlaw.com;
Castillo, Roxane (USANM) 1 .
Subject: This week's trial deadlines ~ Re: (4 er 31245- USA v. MARTINER(a,o)

Good afternoon, Jeannie:

lam writing to let you know that, pursuant to an agreement reached by the parties last week after court, neither side
will be filing or exchanging pleadings this week, Consequently, you should not expect to see a witness list filed by the
prosecution or defense today. The parties will communicate with each other on Thursday to see how we should
proceed from that date forward. We will be sure to keep the Court updated on any further changes te the filing
schedule.

Thank you,

Randy

 

 
